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EXHIBIT
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ROBERT SUBRANNI, based upon his knowledge, information and belief states that he

is authorized to take this Affidavit on behalf of Peirce-Phelps, LLC and hereby swears and

affirms as follows:

lL.

I have been employed at Peirce-Phelps for 31 years since 1989, and for the last 26
years have been employed as Vice President and CFO of Peirce-Phelps.
Peirce-Phelps, LLC is a distributor of residential and commercial heating, ventilation,
air conditioning equipment, building and home automation energy management
systems,

Peirce-Phelps, LLC is a Delaware Corporation however maintains its principle place
of business and corporate address at 516 East Township Line Road, Blue Bell, PA

19422.

Peirce-Phelps, LIC maintains its corporate headquarters in Blue Bell, Pennsylvania
where all of its core executive and administrative functions are carried out.
Peirce-Phelps, LLC maintains 21 branch sales offices, 13 in Pennsylvania, 5 in New
Jersey and one in Delaware.

On August 1, 2019, Peirce-Phelps, LLC was acquired by Watsco, which is located in

Florida,

. Peirce-Phelps, LLC maintains no physical plant nor sales office in Florida and

pursuant to the acquisition, Peirce-Phelps, LLC maintains complete autonomy at its

corporate headquarters in Pennsylvania.
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8. Peirce-Pheips, LLC’s corporate headquarters from which it directs, manages and
oversees its entire sales force and from which its officers coordinate corporate
activities is located in Pennsylvania

9. While Peirce-Phelps, LLC sells residential heating, ventilation and air conditioning

equipment in multiple states, the focal point of all of its business activities is located in

Pennsylvania.

 

Sworn to and Subscribed
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Before me this (3' day of

Crrosex 2020

   

Notary Public

 

Commonwealth of Pennsylvania - Notary Seat
GERALDINE DINENNA - Notary Public
Montgomery Courity
My Commission Expires Jan 21, 2024
Commisston Number 1640300

 

 

 

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